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 1                                                                         Chief Judge Ricardo S. Martinez

 2

 3

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 5

 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9
                                                           No. 19-CR-010
10
        UNITED STATES OF AMERICA,                          DEFENDANTS’ MOTION TO
11                                                         EXCLUDE IRRELEVANT AND
                                 v.                        PREJUDICIAL EVIDENCE AT
12                                                         TRIAL
        HUAWEI DEVICE CO., LTD., and                       NOTE ON MOTION CALENDAR:
13      HUAWEI DEVICE USA, INC.,                           August 9, 2019
14
                                 Defendants.               ORAL ARGUMENT REQUESTED
15

16
            Defendants Huawei Device Co, Ltd. (“Huawei China”) and Huawei Device USA, Inc.
17

18 (“Huawei USA”) (collectively “Huawei Device”), through counsel, hereby move this Court in

19 limine under Federal Rule of Evidence 104(a) for a ruling precluding the government from

20 introducing evidence at trial related to the allegations in paragraphs 38, 47 and 48 of the

21
     Indictment, which Huawei Device is also separately moving to strike as surplusage. Such
22
     evidence is inadmissible under Rules 401, 402, 403 and 404(b), because it is unrelated to the
23
     charges in the Indictment, it would unfairly prejudice Huawei Device, and it would cause undue
24
     delay by requiring many “trials-within-the-trial” on entirely collateral issues.
25

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     DEFENDANTS’ MOTION TO EXCLUDE IRRELEVANT AND PREJUDICIAL
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 1                                               INTRODUCTION

 2           The Court should preclude the government from introducing any evidence at trial
 3 regarding old civil lawsuits between different parties, a House of Representatives report, and an
 4
     unrelated “bonus program” alleged in paragraphs 38, 47, and 48 of the Indictment. Evidence
 5
     about those allegations is wholly irrelevant to the charges against Huawei Device. The evidence
 6
     is not intrinsic to the crimes charged, because it is neither inextricably intertwined with the
 7
 8 charges nor necessary to complete the narrative of the government’s case. Rather, the evidence
 9 is pure propensity evidence prohibited by Rule 404(b). Finally, the evidence also fails the Rule
10 403 balancing test because its unfairly prejudicial nature far outweighs any minimal probative
11 value; and its admission would result in mini-trials on collateral issues like the merits of the old
12
     civil lawsuits, the conclusions of a congressional report focused on national security, and the
13
     purpose of a proposed “bonus program” and whether it was ever implemented. The jury should
14
15 not be exposed to any “evidence” about these irrelevant and prejudicial allegations.
16                                                  ARGUMENT

17    I.      Evidence of the House Report, Prior Civil Suits, and the Bonus Program Is Not
              Relevant.
18
             Evidence is relevant if “(a) it has any tendency to make a fact more or less probable than
19
20 it would be without the evidence; and (b) the fact is of consequence in determining the action.”
21 Fed. R. Evid. 401; see also Old Chief v .United States, 519 U.S. 172, 178 (1997) (quoting a prior
22 version of Rule 401). In a criminal case, relevant evidence must either support proof of the
23 elements of the charged offense or rebut relevant defenses. See United States v. Espinoza-Baza,
24
     647 F.3d 1182, 1188 (9th Cir. 2011); Todhunter, Mandava, & Assocs. v. I.C.C.I. (Holdings) Pty.
25
     Ltd., 1991 WL 166585, at *1 (D.D.C. Aug. 14, 1991) (holding the improper use of the statutory
26
27 trademark was irrelevant to the charged fraud). Irrelevant evidence is not admissible. Fed. R.
28 Evid. 402; Espinoza-Baza, 647 F.3d at 1188 (citing Fed. R. Evid. 401).
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 1           Huawei Device established in Defendants’ Motion to Strike Surplusage that the

 2 allegations regarding the House of Representatives report, two old civil lawsuits, and an
 3 unrelated bonus program post-dating the alleged theft of trade secrets from T-Mobile are entirely
 4
     irrelevant to the charges in this case. Ind. ¶¶ 38, 47-48. Huawei Device incorporates those
 5
     arguments by reference here. Evidence relating to these allegations should be excluded from
 6
     trial as irrelevant.
 7
 8    II.     The Court Should Preclude the Government from Introducing Evidence of the
              House Report, Prior Civil Suits, and the Bonus Program Pursuant to Rule 404(b).
 9
             Assuming the evidence was relevant (which it is not), evidence of the old civil lawsuits, a
10
     House report, and an unrelated “bonus program” could only be used to malign Huawei Device’s
11
12 character and to suggest impermissibly that, because Huawei Device allegedly engaged in other
13 trade secrets thefts or uncharged misconduct, it is more likely to have committed the crimes
14 charged in the Indictment. This type of inference is squarely prohibited by Rule 404(b).
15           A.       The Evidence Is Not Intrinsic to the Charged Offenses.
16
             Evidence is intrinsic when it “constitutes a part of the transaction that serves as the basis
17
     for the criminal charge” or “was necessary … in order to permit the prosecutor to offer a
18
     coherent and comprehensible story regarding the commission of the crime.” United States v.
19
20 Vizcarra–Martinez, 66 F.3d 1006, 1012 (9th Cir. 1995) (overturning the district court decision to
21 admit evidence of drug possession because it was not intrinsic to the drug manufacturing).
22           Here, there is nothing “intrinsic” about allegations that Huawei Device was the subject of
23 two lawsuits years before the charged conduct or scrutinized in a one-sided politically-motivated
24
     House report. The lawsuits and House report cannot be considered “part of the charged
25
     transaction” because they occurred in 2012, 2010 and 2003—one, three and ten years prior to the
26
27
28
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 1 charged conduct—and involved different facts, parties 1, and individuals. Further, these
 2 unrelated lawsuits and the House report regarding “national security issues” stemming from a
 3 variety of unproven allegations lend no context necessary to explain the charges. Without this
 4
     evidence, there is no hole in the government’s account of the incidents in T-Mobile’s lab, no
 5
     missing piece without which the allegations will lack coherence to the jury. The government
 6
     would have no difficulty presenting its case regarding the alleged theft from T-Mobile without
 7
 8 these unrelated and earlier incidents of alleged misconduct by other Huawei entities. This
 9 evidence is neither part of the charged transaction nor necessary to permit the government from
10 presenting a coherent story. Vizcarra–Martinez, 66 F.3d at 1012.
11           Nor are allegations that Huawei Device China proposed a bonus program that was
12
     immediately repudiated by Huawei USA—two months after the alleged thefts in T-Mobile’s
13
     lab—somehow part of the same episode charged in the Indictment. The bonus memorandum
14
15 allegedly was issued on July 10, 2013, months after the alleged thefts in May 2013. Ind. ¶¶ 27-
16 36, 47-49. Further, there is no allegation that the alleged thefts related to or were incentivized by
17 the alleged “bonus program” in any way. Again, the government would have no issue presenting
18 its case without this evidence because the alleged “bonus program” did not even exist at the time
19
     of the events in T-Mobile’s lab.
20
             B.       The Evidence Is Impermissible Propensity Evidence.
21
             Rule 404(b) provides that evidence of other bad acts may not be admitted to show a
22
     propensity to commit crime. Huddleston v. United States, 485 U.S. 681, 686 (1988). “The
23
24
             1
                 Huawei Device Co., Ltd. and Huawei Device USA, Inc. are but two of many distinct
25 and independent Huawei entities, neither of which were sued by Motorola or Cisco for
26 allegedmisappropriation of trade secrets. The defendants in the Cisco matter were Huawei
   Technologies, Co., Ltd., Huawei America, Inc. and Futurewei Technologies, Inc. The
27 defendants in the Motorola matter were Lemko Corporation, Huawei Technologies Co., Ltd., and
   multiple individuals. Allegations against these different companies and individuals are not
28 intrinsic to the charged offenses against Huawei Device.
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 1 exclusion of bad acts evidence is founded not on a belief that the evidence is irrelevant, but
 2 rather on a fear that juries will tend to give it excessive weight, and on a fundamental sense that
 3 no one should be convicted of a crime based on his or her previous misdeeds.” United States v.
 4
     Daniels, 770 F.2d 1111, 1116 (D.C. Cir. 1985). The Rule “guard[s] against the inherent danger
 5
     that the admission of ‘other acts’ evidence might lead a jury to convict a defendant not of the
 6
     charged offense, but instead of an extrinsic offense.” United States v. Sumlin, 489 F.3d 683, 689
 7
 8 (5th Cir. 2007). Where the extrinsic activity did not result in a conviction, this risk is particularly
 9 great: “the jury may feel that the defendant should be punished for that activity even if he is not
10 guilty of the offense charged.” Id. (citation and internal quotation marks omitted).
11          To determine the admissibility of extrinsic evidence under Rule 404(b), the Court applies
12
     a four-part test: (1) there must be a sufficient degree of evidence for the jury to find that the other
13
     acts were in fact committed; (2) the other acts evidence may be introduced only to prove a
14
15 material issue in the case; (3) the other acts must not be too remote in time to the conduct
16 charged; and (4) the other acts must be sufficiently similar to the charged conduct when they are
17 being introduced to show intent.” United States v. DeSalvo, 41 F.3d 505, 509 (9th Cir. 1994)
18 (citing United States v. Ayers, 924 F.2d 1468, 1473 (9th Cir. 1991). Evidence of the old civil
19
     lawsuits, the House report, and the bonus memorandum fail this test and is inadmissible under
20
     404(b) as improper propensity evidence against Huawei Device.
21
                     1. The evidence is insufficient to show the alleged acts were committed.
22
            First, there is insufficient evidence for the jury to find that the alleged other acts were
23
24 committed. The Indictment does not allege that the bad acts described in the old civil lawsuit
25 actually occurred. 2 Likewise, the Indictment does not allege that the inflammatory allegations in
26
27          2
            Indeed, with regard to the prior civil suits, the government has represented that it will
   present through an FBI agent a short description of the “allegations” in the suits without taking
28
   any position on whether the allegations were “meritorious.” See Motion to Strike Surplusage, at
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 1 the House report are accurate or took place. Presented with only vague and untested
 2 allegations—all of which the government purports to present through hearsay—the jury will be
 3 left to guess whether the conduct actually occurred based upon testimony from a witness without
 4
     first-hand knowledge of any of the underlying facts. See United States v. Bailey, 696 F.3d 794,
 5
     799 (9th Cir. 2012) (“[A] mere accusation of prior conduct is insufficient to support a finding
 6
     that the prior act was committed.”); United States v. Benzer, No. 2:13-CR-18 JCM GWF, 2014
 7
 8 WL 6747151, at *4 (D. Nev. Dec. 1, 2014) (holding evidence insufficient where there was only a
 9 letter to the state bar that was never investigated alleging fee splitting and conflicts of interest).
10 Similarly, the government cannot prove that Huawei Device implemented the bonus policy;
11 indeed, the Indictment acknowledges that Huawei USA’s Director of Human Resources
12
     responded to the proposal in an email stating that “such behavior is expressly prohibited by
13
     [Huawei USA’s] company policies.” Ind. ¶ 48. Although the Indictment alleges that “the email
14
15 did not state that the bonus program had been suspended by Huawei China,” that is a far cry
16 from showing that the other acts were committed as required by 404(b). Benzer, 2014 WL
17 6747151 at *4.
18                   2. The evidence is not relevant to a material issue in the case.
19          Second, the evidence is not relevant to a material issue in this case. The stated purpose of
20
     the allegations in paragraph 38 of the Indictment is to show Huawei Device was “concerned”
21
     about negative publicity, an issue wholly unrelated to the charged conduct that is not an element
22
     of any charge. Ind. ¶ 38. Unproven allegations in prior civil suits and a House report bear no
23
24 relationship to the alleged incidents in the T-Mobile lab or the investigation that followed. See
25 Ghahremani v. Borders Grp., Inc., No. 10-CV-1248-BEN-RBB, 2010 WL 4008506, at *3 (S.D.
26 Cal. Oct. 6, 2010) (news article and blog post were immaterial because they “have no possible
27
28 7 (citing Ex. A at 2).
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 1 bearing on the controversy between the parties.”). Further, allegations or evidence of civil suits
 2 settled without admission of liability have “no tendency whatsoever to make the existence of any
 3 fact of consequence to the government’s case in chief more or less probable” than it would be
 4
     without such evidence. United States v. Hall, 653 F.2d 1002, 1006 (5th Cir. 1981); see also
 5
     United States v. Dean, 980 F.2d 1286, 1288 (9th Cir. 1992); United States v. Click, 807 F.2d 847,
 6
     850 (9th Cir. 1987).
 7
 8          Likewise, the bonus memorandum is not relevant to any material issue. The government

 9 does not allege that this proposed policy motivated or impacted the charged conduct. Instead,
10 this evidence would improperly imply that Huawei Device had a propensity for misappropriating
11 proprietary information and technology and even incentivized this improper behavior. While the
12
     government claims it is attempting to demonstrate motive with this evidence, it in fact seeks to
13
     show Huawei Device had a propensity towards stealing proprietary information. It purports to
14
15 do so with no evidence that any of the Huawei Device employees whose conduct is at issue ever
16 knew about, much less was motivated by, any such bonus memorandum. If introduced, the
17 evidence would undoubtedly cause the jury to assume improperly that these allegations make it
18 more likely that Huawei Device committed the charged theft of trade secrets.
19
                     3. The evidence is too remote in time to the charged conduct.
20
            Third, the allegations of the old civil lawsuits and House report occurred between one
21
     and ten years ago and are “too remote in time” to the conduct charged to be admissible. See
22
     DeSalvo, 41 F.3d at 509 (citing Ayers, 924 F.2d at 1473); United States v. Flett, 379 F. Supp. 3d
23
24 1152, 1152 (E.D. Wash. 2019) (holding prior conduct six to nineteen years ago was too remote).
25 The circulation of the bonus memorandum, while occurring closer in time to the alleged
26 incidents in T-Mobile’s lab, allegedly occurred after the relevant conduct and is therefore
27
     entirely unrelated to the charges.
28
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 1                    4. The evidence is not sufficiently similar to show intent.

 2           Finally, the other acts evidence is not sufficiently similar under Rule 404(b) to show

 3 intent. As discussed above, the civil lawsuits involved different parties and events long before
 4
     the charged conduct involving different factual circumstances. Likewise, the House report is
 5
     focused on irrelevant national security issues unrelated to the alleged thefts in T-Mobile’s lab.
 6
     Similarly, the policy outlined in the bonus memorandum potentially rewarding employees for
 7
 8 acquiring “confidential” information bears little resemblance to the incidents in the T-Mobile
 9 lab, which involve no allegation of bonus incentives from the company.
10           Thus, the evidence necessary to prove the allegations in paragraphs 38, 47 and 48 of the
11 Indictment fails to satisfy any of the prerequisites for admissibility of extrinsic evidence.
12
     Desalvo, 41 F. 3d at 509. Accordingly, the evidence would serve only to influence the jury to
13
     infer propensity and cannot be admitted under Rule 404(b). If the jury hears evidence that
14
     Huawei Device may have misappropriated the intellectual property of other companies and
15
16 “‘may be violating United States laws’” through “‘very serious allegations of illegal behavior,’”
17 Ind. ¶ 38, it would improperly conclude that Huawei Device does not abide by the law and
18 should be punished. This is the sort of propensity evidence squarely barred by Rule 404(b). See
19 Huddleston, 485 U.S. at 686; DeSalvo, 41 F.3d at 509. Worse yet, the jury may conclude that
20
     Huawei Device should be punished for the activity alleged in the civil complaints and House
21
     report even though it has never been proven responsible for any of that alleged misconduct. See
22
     Sumlin, 489 F. 3d at 689.
23
24                    5. Judge Jones excluded much of the same evidence under Rule 404(b) in T-
                         Mobile’s civil case against Huawei Device.
25
             The inadmissibility of this evidence has already been confirmed by an evidentiary ruling
26
     in T-Mobile’s prior civil litigation against Huawei Device for these same alleged thefts of trade
27
28 secrets. In that case, T-Mobile sought to admit the same evidence challenged here regarding the
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 1 House report and the earlier trade secrets misappropriation lawsuit by Cisco against Huawei
 2 Device (T-Mobile did not seek to admit evidence of the Motorola lawsuit). Judge Jones
 3 excluded the evidence from trial, holding that “T-Mobile makes no effort to establish what
 4
     purpose these materials would serve other than to impugn Huawei USA’s character in violation
 5
     of Rule 404.” T-Mobile USA, Inc. v. Huawei Device USA, Inc., et al., No. C14-1351-RAJ (W.D.
 6
     Wa.), ECF 408-1, Order at 15. Judge Jones had it exactly right: evidence about the House report
 7
 8 and the old civil lawsuits would serve no purpose other than to impugn Huawei Device’s
 9 character and improperly suggest its propensity to engage in wrongdoing. The evidence should
10 be excluded pursuant to Rule 404(b).
11    III.    The Allegations Fail Rule 403’s Balancing Test.
12
             Even if, arguendo, evidence of the allegations at issue either satisfied Rule 404(b), or is
13
     deemed relevant under Rule 401, it should still be excluded under Rule 403 because its probative
14
     value is substantially outweighed by the danger of unfair prejudice, and the evidence would lead
15
16 to a confusion of the issues, mislead the jury, and cause undue delay. Boyd v. City & Cty. of San
17 Francisco, 576 F.3d 938, 947 (9th Cir. 2009) (citing Fed. R. Evid. 403); United States v. Allen,
18 341 F.3d 870, 886 (9th Cir. 2003).
19           For purposes of Rule 403, “[t]he term ‘unfair prejudice,’ as to a criminal defendant,
20
     speaks to the capacity of some concededly relevant evidence to lure the factfinder into declaring
21
     guilt on a ground different from proof specific to the offense charged.” Old Chief, 519 U.S. at
22
     180; Go-Video, Inc., 977 F.2d at 588. Additionally, courts have excluded evidence when it is
23
24 highly likely that such evidence will create a “mini-trial” that detracts from the real issues in the
25 case. United States v. Alvarez, 580 F. App’x 571, 573 (9th Cir. 2014); United States v. Thinn,
26 489 F. App’x 195, 196 (9th Cir. 2012) (“The district court properly balanced the probative and
27
     prejudicial nature of the testimony and prevented a mini-trial on issues collateral to the case.”).
28
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 1           The allegations relating to the House report in paragraph 38 contain highly prejudicial

 2 uncharged conduct referencing “a potential threat to national security.” Particularly given
 3 current events and the ongoing “trade war” with China, evidence suggesting that Huawei Device
 4
     is a national security threat illegally violating U.S. laws will invite the jury to convict for
 5
     improper reasons not related to evidence of the charged offenses. The nature of the allegations
 6
     in the 2010 and 2003 lawsuits are also highly prejudicial because they suggest Huawei Device is
 7
 8 a “repeat offender” with a history of stealing trade secrets. Similarly, introduction of the bonus
 9 memorandum to show that Huawei Device “rewarded employees who stole confidential
10 information from competitors,” Ind. ¶ 48, would be highly prejudicial because it would insinuate
11 that Huawei Device had a corporate policy to commit crimes similar to those charged in the
12
     Indictment.
13
             Exclusion of this evidence is also necessary to avoid the lengthy “trials-within-a-trial”
14
15 that would be required for Huawei Device to rebut the irrelevant allegations. Though not
16 relevant to the charges, Huawei Device would be forced to mount a vigorous and time-
17 consuming defense to prove that it (a) is not a national security threat engaged in unlawful
18 behavior, (b) did not misappropriate any technology from Motorola or Cisco, and (c) never
19
     instituted the bonus program or intended to incentivize employees to violate the law. Requiring
20
     Huawei Device to introduce evidence and witnesses wholly unrelated to this matter would
21
     needlessly prolong the trial and could easily dwarf the real issues related to T-Mobile in this
22
23 case. Such a spectacle would be entirely unnecessary and inappropriate. To the extent these
24 allegations are even remotely relevant, their minimal probative value would be far outweighed
25 by the undue delay and the prejudice that would result from its admission.
26
27
28
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 1                                                CONCLUSION

 2          All of the reasons set forth above demand that the Court grant this motion. The Court
 3 should preclude the government from introducing evidence at trial regarding the allegations in
 4
     paragraphs 38, 47 and 48 of the Indictment.
 5
                                                         Respectfully submitted,
 6
     Dated: August 1, 2019
 7                                                        YARMUTH LLP
 8                                                        By: s/ Robert Westinghouse
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19                                                        Co., Ltd., and Huawei Device USA, Inc.
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 1                                       CERTIFICATE OF SERVICE

 2         I hereby certify that on August 1, 2019, I electronically filed the foregoing with the Clerk
   of the Court using the CM/ECF system which will send notification of such filing to the
 3 following:
 4 Attorneys for the Government
 5
 6
     Todd Greenberg
 7   Thomas M. Woods
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11   Thomas.Woods2@usdoj.gov
     Siddharth.Velamoor@usdoj.gov
12
13
14          DATED: August 1, 2019, at Seattle, Washington.
15
16
                                                        s/ Vassie Skoulis
17
                                                           Vassie Skoulis, Legal Assistant
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 1                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 2                                         AT SEATTLE

 3

 4                                                          No. 19-CR-010

 5      UNITED STATES OF AMERICA,                           [PROPOSED] ORDER GRANTING
                                                            DEFENDANTS’ MOTION TO
 6                               v.                         EXCLUDE IRRELEVANT AND
                                                            PREJUDICIAL EVIDENCE AT
 7                                                          TRIAL
        HUAWEI DEVICE CO., LTD., and
        HUAWEI DEVICE USA, INC.,
 8

 9                               Defendants.

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11          The Court has reviewed Defendants Huawei Device Co., Ltd.’s (“Huawei China”), and
12
     Huawei Device USA, Inc.’s (“Huawei USA”) (collectively, “Huawei Device”) Motion to
13
     Exclude Irrelevant and Prejudicial Evidence at Trial.
14
            The Motion is granted for the reasons stated by Huawei Device.
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16          Accordingly, the government shall not offer evidence, make reference to evidence, elicit

17 testimony, or advance any argument referencing allegations in Paragraphs 38, 47, and 48 of the

18 Indictment.

19          IT IS SO ORDERED.
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21                                                              Ricardo S. Martinez
                                                                Chief United States District Judge
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     [PROPOSED] ORDER GRANING DEFENDANTS’ MOTION TO EXCLUDE
     IRRELEVANT AND PREJUDICIAL EVIDENCE AT TRIAL                            1420 F i f t h Av enue, Sui t e 1400
                                                                             Seat t l e, W ashi ngt on 9 810 1
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